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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

          CAROLINA CARRASQUERO,

                     Plaintiff,

          V.                                     CASE NO.3:21-cv-1181-HES-PDB

          VOYA INSTITUTIONAL PLAN
          SERVICES,LLC,

                      Defendant.



                                           ORDER


                This matter is before this Court on a Joint Motion to Compel Arbitration

          and Stay Proceedings (Dkt. 5).

                This litigation arises out of Plaintiffs former employment with VIPS.

          Plaintiff alleges claims of sex and national origin discrimination under Title

          VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq. As part of her

          employment with VIPS, Plaintiff entered into a binding arbitration agreement

          governing any claims against VIPS. Thus, the Parties request that the Court

          enter an Order compelling this matter to arbitration and staying the

          proceedings pending resolution of the arbitration.

                Accordingly, it is ORDERED:

                1. The Joint Motion to Compel Arbitration and Stay Proceedings(Dkt. 5)
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is GRANTED;

      2. This action is STAYED pending completion of arbitration under the

binding arbitration agreement; and

      3. Every ninety(90) days, Plaintiff must file a notice to this Court on the

progress of the arbitration.



      DONE AND ORDERED at Jacksonville, Florida, this                     day of

February 2021.




                                              YT:. SCHI^SINGI
                                            D STAT^DISTRICT JUDGE
Copies to:                        ^
Samuel Benjamin Kanupp, Esq.
Cathy J. Beveridge, Esq.
